Case 4:19-cv-10021-SDD-RSW ECF No. 1, PageID.1 Filed 01/03/19 Page 1 of 28


                      UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF MICHIGAN

MELANIE WELCH,                                Case No.

     Plaintiff,                               Hon.

v.

WHOLE FOODS MARKET,INC., WHOLE
FOODS MARKET GROUP,INC., WHOLE
FOODS MARKET MIDWEST,INC., WHOLE
FOODS MARKET,ARAMARK UNIFORM
SERVICES,ARAMARK UNIFORM & CAREER
APPAREL, LLC, ARAMARK SERVICES,INC.,
ARAMARK UNIFORM RENTALS,
AUS DETROIT MICHIGAN,ARAMARK
DETROIT,ARAMARK,jointly and severally,

      Defendants.
Michael J. Garris(P30185)          John "Jack" P. Deegan (P55630)
GARRIS, GARRIS, GARRIS & GARRIS,PC Rhonda R. Stowers(P64083)
Attorneys for Plaintiff            PLUNKETT COONEY
300 E. Washington St.              Attorneys for Defendant
Ann Arbor, MI 48104                406 Bay Street, Suite 300
(734)761-7282                      Petoskey, MI 49770
                                   (231) 348-6435
                                   jdeeganPplunkettcooney.com

       NOTICE OF FILING NOTICE OF REMOVAL(CIRCUIT COURT)

      NOTICE OF FILING NOTICE OF REMOVAL(FEDERAL COURT)

        NOTICE OF REMOVAL OF CAUSE TO THE UNITED STATES
      DISTRICT COURT FOR THE EASTERN DISTRICT OF MICHIGAN

                              VERIFICATION

                      APPEARANCE(FEDERAL COURT)


                                     1
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                               STATE OF MICHIGAN
              IN THE CIRCUIT COURT FOR THE COUNTY OF WASHTENAW

MELANIE WELCH,                                            Case No. 18-1287-NI

       Plaintiff,                                         Hon. David S. Swartz

v.

WHOLE FOODS MARKET,INC., WHOLE
FOODS MARKET GROUP,INC., WHOLE
FOODS MARKET MIDWEST,INC., WHOLE
FOODS MARKET,ARAMARK UNIFORM
SERVICES,ARAMARK UNIFORM & CAREER
APPAREL, LLC, ARAMARK SERVICES,INC.,
ARAMARK UNIFORM RENTALS,
AUS DETROIT MICHIGAN,ARAMARK
DETROIT,ARAMARK,jointly and severally,

       Defendants.

Michael J. Garris(P30185)                        John "Jack" P. Deegan(P55630)
GARRIS,GARRIS,GARRIS & GARRIS,PC                 PLUNKETT COONEY
Attorneys for Plaintiff                          Attorneys for Defendant Aramark Uniform &
300 E. Washington St.                            Career Apparel, LLC
Ann Arbor, MI 48104                              406 Bay Street, Suite 300
(734)761-7282                                    Petoskey, MI 49770
                                                 (231) 348-6435
                                                 jdeeganPplunkettcooney.com

      NOTICE OF FILING REMOVAL WITH THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN

       PLEASE       TAKE   NOTICE   that, pursuant to       28   U.S.C. §1441, Defendant,

Aramark Uniform & Career Apparel, LLC, hereby files its Notice of Removal,a copy of which

is attached hereto and which was filed with the United States District Court, Eastern

District of Michigan on January 3, 2019.

                                           Respectfully submitted,

                                           PLUNKETT COONEY


Date: 1/3/19                               By:
Case 4:19-cv-10021-SDD-RSW ECF No. 1, PageID.3 Filed 01/03/19 Page 3 of 28


                                                                 John "Jack" P. Deegan (P55630)
                                                                 Rhonda R. Stowers(P64083)
                                                                 Attorneys for Defendant Aramark
                                                                 Uniform & Career Apparel, LLC
                                                                 406 Bay Street, Suite 300
                                                                 Petoskey, MI 49770
                                                                 (231)348-6435
                                                                 jdeegan@plunkettcooney.com

                                         PROOF OF SERVICE

             The undersigned certifies that the foregoing document was served upon all parties to
            the above cause to each of the attorney(s)of record herein at their respective business
            address    •s disclosed on the pleadings on said date:

                                  utflik)Date
                                                                              ,20 I Ci


                            ❑ 1-15nd delivery          El Overnight mail
                           [U.S.Mail                   0 Facsimile
                           0 E-Mail                    0 Certified Mail

            I declare under the penalty of pedu that the foregoing statement is true to the best
            of my informatio knowled e           ief.
                                     an
                          AL-4611iNALli
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                       UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF MICHIGAN

MELANIE WELCH,                                Case No.

      Plaintiff,                              Hon.

v.

WHOLE FOODS MARKET,INC., WHOLE
FOODS MARKET GROUP,INC., WHOLE
FOODS MARKET MIDWEST,INC., WHOLE
FOODS MARKET,ARAMARK UNIFORM
SERVICES,ARAMARK UNIFORM & CAREER
APPAREL,LLC, ARAMARK SERVICES,INC.,
ARAMARK UNIFORM RENTALS,
AUS DETROIT MICHIGAN,ARAMARK
DETROIT,ARAMARK,jointly and severally,

     Defendants.

Michael J. Garris(P30185)          John "Jack" P. Deegan (P55630)
GARRIS, GARRIS, GARRIS & GARRIS,PC Rhonda R. Stowers(P64083)
Attorneys for Plaintiff            PLUNKETT COONEY
300 E. Washington St.              Attorneys for Defendant Aramark
Ann Arbor, MI 48104                Uniform & Career Apparel, LLC
(734)761-7282                      406 Bay Street, Suite 300
                                   Petoskey, MI 49770
                                   (231) 348-6435
                                   jdeeganOplunkettcooney.com

              NOTICE OF FILING REMOVAL OF CAUSE TO THE
               UNITED STATES DISTRICT COURT FOR THE
                   EASTERN DISTRICT OF MICHIGAN

     PLEASE TAKE NOTICE that, pursuant to 28 USC §1441, Defendant,

Aramark Uniform & Career Apparel, LLC, a foreign corporation, hereby files


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with the Clerk of the Court a copy of its Notice of Removal, attached hereto,

and which was filed with the United States District Court, Eastern District of

Michigan, on January 3, 2019.

                                           Respectfully submitted,

                                           PLUNKETT COONEY

                                          is/Rhonda R. Stowers
                                          Rhonda R. Stowers(P64083)
                                          Attorney for Defendant
                                          111 E. Court St., Ste. 1B
                                          Flint, MI 48502
                                          (810) 342-7003
                                          rstowers@plunkettcooney.com

Dated: 1/3/19


                   CERTIFICATE OF ELECTRONIC FILING

Rhonda Stowers certifies that a copy of the Removal documents and this
Certificate of Electronic Filing was electronically filed with the United States
District Court, Eastern District of Michigan, in the above cause on 1/3/19. A
copy will be provided to counsel of record via first class mail. I declare under
the penalty of perjury that the above statement is true to the best of my
knowledge,information and belief.


                                          is/Rhonda R. Stowers
                                          Rhonda R. Stowers(P64083)
                                          Attorney for Defendant
                                          111 E. Court St., Ste. 1B
                                          Flint, MI 48502
                                          (810)342-7003
                                          rstowers@plunkettcooney.com



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                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MICHIGAN

 MELANIE WELCH,                                 Case No.

         Plaintiff,                             Hon.

 v.

WHOLE FOODS MARKET,INC., WHOLE
FOODS MARKET GROUP,INC., WHOLE
FOODS MARKET MIDWEST,INC., WHOLE
FOODS MARKET,ARAMARK UNIFORM
SERVICES,ARAMARK UNIFORM & CAREER
APPAREL,LLC, ARAMARK SERVICES,INC.,
ARAMARK UNIFORM RENTALS,
AUS DETROIT MICHIGAN,ARAMARK
DETROIT,ARAMARK,jointly and severally,

        Defendants.

Michael J. Garris(P30185)          John "Jack" P. Deegan (P55630)
GARRIS, GARRIS, GARRIS & GARRIS,PC Rhonda R. Stowers(P64083)
Attorneys for Plaintiff            PLUNKETT COONEY
300 E. Washington St.              Attorneys for Defendant Aramark
Ann Arbor, MI 48104                Uniform & Career Apparel, LLC
(734) 761-7282                     406 Bay Street, Suite 300
                                   Petoskey, MI 49770
                                   (231)348-6435
                                   jdeegan@plunkettcooney.com

      NOTICE OF REMOVAL FOR CAUSE TO THE UNITED STATES DISTRICT
             COURT FOR THE EASTERN DISTRICT OF MICHIGAN

        NOW COMES Defendant, Aramark Uniform & Career Apparel, LLC

(hereafter "Aramark"), a foreign corporation, by and through its attorneys,

Plunkett Cooney, pursuant to 28 U.S.C.A. §§ 1332, 1441 and 1446, hereby files


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this Notice of Removal of the above-captioned matter to the United States

District Court for the Eastern District of Michigan, from the Midland County

Circuit Court where the action is now pending and states as follows:

      1.      The above-captioned matter was filed in Washtenaw County

Circuit Court on or about December 11, 2018, and is now pending in that

court.

         2.   Defendant Aramark first received a copy of the Summons and

Complaint in this matter on or about December 14, 2018.

      3.      The above-captioned matter is a suit at common law of a civil

nature brought by Plaintiff, Melanie Welch, in which the Plaintiff seeks

monetary damages as a result of premises liability and Defendants' alleged

negligence.

     4.       The above-captioned matter involves a controversy which is

wholly between citizen of different states in that at the time of the

commencement of this action in Washtenaw County Circuit Court, the Plaintiff

was a citizen and resident of the City of Ann Arbor, County of Washtenaw,

State of Michigan and the named Defendants were, and still are, foreign

corporations with principal places of business outside this state (Defendant

Whole Foods Market,Inc/Whole Foods Market ceased operations in 1995, but

was previously incorporated in Texas; Whole Foods Market Group, Inc. is a


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 Delaware corporation; Whole Foods Market, Midwest was a Delaware

 corporation; Aramark Uniform & Career Apparel, LLC,the Aramark entity that

 is the party in interest in this litigation, is likewise a Delaware Corporation).

       5.    This action is one over which the District Courts of the United

States are given original jurisdiction.

       6.    The time within which Defendant is required to file this Notice of

Removal to Federal Court has not yet expired.

       7.    According to the allegations in Plaintiffs Complaint, Plaintiff seeks

to recover monetary damages in connection with alleged injuries sustained as

a result of Defendant's alleged negligence.

       8.    According to Plaintiffs Complaint, attached as Exhibit A, Plaintiff

seeks to recover damages in excess of $25,000, exclusive of interest and costs

in this matter, for injuries Plaintiff alleges resulted in physical pain and

suffering and past, present and future mental anguish, together with a

decreased enjoyment of life to the present, medical bills and miscellaneous

expenses.

      9.     Defendant files with this Notice a copy of all process, pleadings

and orders served upon Defendant in this action (See Exhibit A).

      10.   This action is removable to this Court under and by virtue of the

acts of Congress of the United States.


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      11.   Upon information and belief, all Defendants concur in the removal

of this action and/or have not been served.

      12.   Defendant has served written notice of the filing of this Notice as

required by 28 U.S.C.A.§ 1446(d).

      13.   A copy of this Notice will be filed with the Clerk of the Washtenaw

County Circuit Court, as required by 28 U.S.C.A.§ 1446(d).

      WHEREFORE, Defendant Aramark, respectfully requests that it may

effectuate removal of this action from the Circuit Court for the County of

Washtenaw, State of Michigan, to the United States District Court for the

Eastern District of Michigan, and that this action proceed in this Court as an

action properly removed.

                                          Respectfully submitted,

                                         PLUNKETT COONEY

                                         /s/Rhonda R. Stowers
                                         Rhonda R. Stowers(P64083)
                                         Attorney for Defendant
                                         111 E. Court St., Ste. 1B
                                         Flint, MI 48502
                                         (810)342-7003
                                         rstowers@plunkettcooney.com

Dated: 1/3/19




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         Exhibit A
    Plaintiffs Complaint
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                                               STATE OF MICHIGAN
                       IN THE 22nd CIRCUIT COURT FOR THE COUNTY OF WASHTENAW

              MELANIE WELCH,
                                                                 File No. 18- 4.81 .Ni
                    Plaintiff,
                                                                 Honorable: 1),imil.
                                                                                   )
                                                                                   0 S• St4111.43-7 ,

             WHOLE FOODS MARKET,INC.,
             WHOLE FOODS MARKET GROUP,INC.,
             WHOLE FOODS MARKET MIDWEST,INC.
             WHOLE FOODS MARKET,
             ARAMARK UNIFORM SERVICES,
             ARAMARK UNIFORM & CAREER APPAREL LLC,
             ARAMARK SERVICES, INC,
             ARAMARK UNIFORM RENTALS,
             AUS DETROIT MICHIGAN,
             ARAMARK DETROIT,
             ARAMARK,jointly and severally
                   Defendants.

             Michael J. Garda (P30185) •
             GARRIS,GARRIS,,GARRIS & GARRIS,             P.C.
             Attorneys for Plaintiff
            300 East Washington Street
            Ann Arbor, Michigan 48104
            (734)761-7282

                                           PLAINTIFF'S COMPLAINT
 o
 o:               NOW COMES the Plaintiff herein, Melanie Welch by and through her

            attomeys Garris, Gamic, Garris & Garr's, P. C. and for her Complaint against the
 4   IZO
       )
 °Sa v q    Defendants, states as follows:

                                          COMMON ALLEGATIONS
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olg  2E
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 al41             1.      At all times material..to this Complaint, the Plaintiff resided in the City of
 < 8z       Ann Arbor, County of Washtenaw and State of Michigan.
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                     At all times material to this Complaint, upon Information and belief,

        Defendant Whole Foods Market, Inc. was registered to do businets in the State of

        Michigan and was doing substantial business in the City of Ann Arbor. County of

        Washtenaw and State of Michigan.

              3.    At all times material to this Complaint, upon information and belief,

       Defendants Whole Foods Market Group, Inc. was registered to do business in the

       State of Michigan and was doing substantial business in the City of Ann Arbor,

       County of Washtenaw and State of Michigan.

           • 4.     At all times material to this Complaint, upon information and belief,

       Defendant Whole Foods Market Midwest, Inc. was registered td-do tnisiness in the

       State of Michigan and was doing substantial business in the City of Ann Arbor,

       County of Washtenaw and State of Michigan.

             5.    At all times material to this Complaint, upon information and belief,
       Defendant Whole Foods Market was registered to do business in the State of

       Michigan and was doing substantial business in the City of Ann Arbor, County of

       Washtenaw and State of Michigan.

            6.     At all times material to this Complaint, upon information and belief,

      Defendant Aramark Uniform Services was registered to do business in the.State of

      Michigan and was doing substantial business in the City of Ann Arbor, County of

      Washtenaw and State of Michigan.

            7.     At all times material to this Complaint, upon information and belief,

      Defendant Aramark Uniform & Career Apparel, LLC was registered to do business in

      the State of Michigan and was doing substantial business in the City of Ann Arbor,

      County of Washtenaw and State of Michigan.



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                    8.      At all times material to this Complaint, upon information and belief,

             Defendant Aramark Services, Inc, was registered to do business in the State of

             Michigan and was doing substantial business in the City of Ann Arbor, County of

             Washtenaw and State of Michigan.

                    9.      At all times material to this Complaint, upon information and belief,

             Defendant Aramark Uniform Rentals was registered to do business, in the State of

             Michigan and was doing substantial business in the City of Ann Arbor, County of

             Washtenaw and State of Michigan.

                    10.     At all times material to this Complaint, upon information and belief,

             Defendant AUS Detroit Michigan was registered to do business in the State of

             Michigan and was doing substantial business in the City of Ann Arbor, Cqunty of

             Washtenaw and State of Michigan.

                   11.     At all times material to this Complaint, upon information and belief, •
             Defendant Aramark Detroit was registered to do business in the State of Michigan

            and was doing substantial business in the City of Ann Arbor, Co.unty of Washtenaw

            and State of Michigan.

                   12.     At all times material to this Complaint, upon information and belief,
            Defendant Aramark was registered to do business in the State of Michigan and was

            doing substantial business in the City of Ann Arbor, County of Washtenaw and State

            of Michigan.

                   13.     The amount in controversy exceeds the sum of $25,000.00, exclusive

            of costs, interest and attorney fees.




to
      Case 4:19-cv-10021-SDD-RSW ECF No. 1, PageID.14 Filed 01/03/19 Page 14 of 28


                                        COUNT I - PREMISES LIABILITY

                     14.    The Plaintiff incorporates by reference all other paragraphs of her •

              Complaint to eliminate repetition.

                     15.    At all times material to this Complaint, upon information and belief,
              Defendants Whole Foods Market, Inc., Whole Foods Market Group, Inc., Whole

             Foods Market Midwest, Inc., and/or Whole Foods Market, and/or their agents were •

             the possessor of the property located at 990 West Eisenhower Parkway in the City of

             Ann Arbor, County of Washtenaw and State of Michigan.

                    16.    At all times material to this Complaint, upon Information and belief,
             Defendants Aramark Uniform Services, Aramark Uniform & Career Apparel, LLC,

             Aramark Services, Inc, Aramark Uniform Rentals, AUS Detroit Michigan, Aramark

             and/or Aramark Detroit and/or their agents had contracted with Defendants Whole

             Foods Market, Inc., Whole Foods Market Group, Inc.. Whole Foods Market Midwest,

            Inc. and/or Whole Foods Market and/or their agents to provide floor mats at the store

            at 990 West Eisenhower Parkway in the City of Ann Arbor, County of Washtenaw

            and State of Michigan.

                   17.     At all times material to this Complaint, Defendants Aramark Uniform
            Services, Aramark Uniform & Career Apparel, LLC, Aramark Services, Inc, Aramark

            Uniform Rentals, AUS Detroit Michigan, Aramaik, and/or Aramark Detroit and/or their

            agents and/or employees were acting as agents of Defendants Whole Foods Market.

            Inc., Defendants Whole Foods Market Group, Inc., Whole Foods Market Midwest,

            Inc. and/or Whole Foods Market, and were acting within the scope of their apparent,

            implied and/or actual authority.
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                          18.    On December 18, 2015, Plaintiff Melanie Welch had gone to the store

                   at 990 West Eisenhower Parkway in the City of Ann Arbor, County of Washtenaw

                   and State of Michigan to shop.

                         19.     On the above date, Plaintiff Melanie Welch was walking towards the

                   vegetable section when she caught her right foot on the floor mat in front of the

                   produce, which had puckered and/or moved.

                         20.     This caused the Plaintiff Melanie Welch to fall and injure herself.

                         21.    At all times material to this Complaint, Plaintiff Melanie Welch was an

                  invitee to the property/business at 990 West Eisenhower Parkway in the City of Ann

                  Arbor, County of Washtenaw and State of Michigan.

                         22.    Upon information and belief, the area where the Plaintiff Melanie Welch

                  fell was under the control of the Defendants Whole Foods Market, Inc, Whole Foods

                  Market Group, Inc., Whole Foods Market Midwest, Inc. and/or Whole Foods.Market

                  and/or their agents.

                        23.     After Plaintiffs fall, an agent and/or employee of Defendants Whole

                  Foods Market, Inc, Whole Foods Market Group, Inc., Whole Foods'Market Midwest,

                 Inc. and/or Whole Foods Market informed Melanie Welch that other persons had
o                tripped and/or fallen on these floor mats, prior to Plaintiff Melanie Welch's fall.
ui
                        24.     After Plaintiff Melanie Welch's fall, an agent and/or employee of
4 wpm3           Defendants Whole Foods Market, Inc., Whole Foods Market Group, Inc., Whole
46.3z
                 Foods Market Midwest, Inc. and/or Whole Foods Market, informed Plaintiff Melanie

eigt og          Welch that they had instructed other individuals to remove and/or replace these floor .
ti - 3ui         mats prior to the Plaintiffs fall, because other people had tripped on them.
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               25.     Upon information and belief, other individuals had previously tripped

        and/or fallen on the same floor mat at the same location, or a similar type floor mat,

       that caused the Plaintiff to fell.

              26.     The specific floor mat referred to in this Complaint would move and/or

       pucker, as they were not the proper type for this use and/or not properly.secured to

       the floor.

              27.     The Defendants Whole Foods Market, Inc, Whole Foods Market Group,
       Inc., Whole Foods Market Midwest, Inc. and/or Whole Foods Market and/or their

       agents use of the floor mat that would move and/or pucker created a danger for the

       Plaintiff and other Individuals that happen to walk in the area.

             28.      The condition of the floor mat that would move and/or pucker .

      constituted an unsafe, dangerous, hazardous and/or defective condition of said

      area/equipment

             29.     The danger of Plaintiff Melanie Welch and/or other individuals falling on
      the moving and/or puckering floor mat was foreseeable to Defendants Whole Foods .

      Market, Inc, Whole Foods Market Group, Inc., Whole Foods Market Midwest Inc.

      and/or Whole Foods Market and/or their agents.

             30.     The Defendants Whole Foods Market, Inc, Whole Foods Market Group,
      Inc., Whole Foods Market Midwest, Inc. and/or Whole Foods Market and/or their

      agents knew or should have known that the type of floor mats that were placed down

      in the store that Plaintiff fell on were similar to the type that Plaintiff fell on, and

      created a danger to individuals that would use the area.

            31.      At all times material to this complaint, Defendants Whole Foods Market,'
     Inc, Whole Foods Market Group, Inc., Whole Foods Market Midwest, Inc. and/or



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        Whole Foods Market and/or their agents owed to the Plaintiff a
                                                                       duty to exercise
        reasonable care.

              32.     Contrary to said duties, Defendants Whole Foods Market, Inc,

        Defendants Whole Foods Market Group, Inc., Whole Foods Market
                                                                      Midwest, Inc.
       and/or Whole Foods Market and/or their agents breached said
                                                                   duties and were
       negligent, Including but not limited to:

                      a.      Caused a floor mat, which moved and/or puckered to be placed
                             on the floor adjacent to the produce area;
                       b.    Failed to exercise reasonable care;
                       c.    Failed to employ adequate and/or properly train and/or qualified
                             agents to carry out the duties of the Defendants;
                       d. 'Failed to properly screen, hire, train, educate and/or supervise Its
                             agents and employees;                                •      •
                       e.    Failed to take reasonable precautions to protect Melanie Welch
                            from dangers that were foreseeable;
                      f.     Failed to keep adequate records;
                      g.    Failed to timely and property remove the floor mat that was in the
                            area before the Plaintiff fell;
                      h.    Placed down a floor mat that would not stay flat;
                      i.    Did not use proper floor mats;
                     j.     Failed to properly inspect their premises and/or the floor mats;
                     k.     Failed to wam Melanie Welch that the floor mat would pucker
                            and/or move;
                     1.     Failed to maintain the floor and/or floor mat in a reasonable and
                           safe condition;
                     m.    Failed to keep the for and/or floor mat in reasonable repair;
                     n. .Selected and/or emplpyed negligent and/or careless agents and
                           employees;
                     o.    Failed to provide proper, adequate, specific and/or complete
                           instructions to its agents and/or employees;
                     p.    Failed to use ordinary care to warn or otherwise protect the
                           Plaintiff from risk or harm from a condition of the possessors
                           premises, as the risk of harm was unreasonable and/or the
                          possessor knew that in the exercise of reasonable ordinary care,
                          should have known of the condition and/or should have realized
                          that it involved unreasonable risk or harm to the Plaintiff or other
                          invitees;
                    q.    Failed to inspect the premises at reasonable intervals to discover
                           conditions that involved an unreasonable risk of harm to the
                          Plaintiff or other invitees;
                    r.    Failed to act as a reasonable and prudent possessor of the
                          property;


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                       s.     Failed to comply with the applicable laws, ordinances and codes.

               33.     At all times material to this Complaint, Plaintiff Melanie Welch acted
        reasonably and exercised proper care for her own safety.

               34.     At all times material to this Complaint, Defendants Whole Foods
        Market, Inc, Whole Foods Market Group, Inc., Whole Foods Market Midwest
                                                                                , Inc.
       and/or Whole Foods Market were the owner, possessor and occupant of the area

       that Plaintiff fell and/or injured herself.

              35.     As a direct and proximate result of the aforementioned acts or
       omissions of Defendants Whole Foods Market, Inc, Whole Foods Market Group, Inc.,

       Whole Foods Market Midwest, Inc. and/or VVhole Foods Market and/or their agents,

       Plaintiff Melanie Welch has incurred Injuries and damages including but not limited to:

                      a.     Physical pain and suffering;
                      b.     Mental anguish, including embarrassment and humiliation past,
                             present and future;
                     c.      Decreased enjoyment of life, past and present;
                     d.      Medical bills;
                     e.      Miscellaneous expenses.
             WHEREFORE Plaintiff Melanie Welch prays for a Judgment against the
      Defendants Whole Foods Market, Inc., Whole Foods Market Group, Inc., Whole

      Foods Market Midwest, Inc. and/or Whole Foods Market,jointly and severally in such
      amount in excess of $25,000.00, as the Court deems just and equitable, plus costs,

      interest and attomey fees.

                                      COUNT II - NEGLIGENCE
            36.      At all times material to this Complaint, upon information and belief,
      Defendants Whole Foods Market, Inc., Whole Foods Market Group, Inc., Whole

      Foods Market Midwest, Inc. and/or Whole Foods Market and/or their agents had

      contracted with Defendants Aramark Uniform Services, Aramark Uniform & Career .


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        Apparel, LLC, Aramark Services, Inc, Aramark Uniform Rentals, AUS Detroit

        Michigan, Aramark, and/or Aramark Detroit and/or their agents to provide floor mats

        at the store at 990 West Eisenhower Parkway in the City of Ann Afbor, County of

        Washtenaw and State of Michigan.

               37.    Defendants Aramark Uniform Services, Aramark Uniform & Career

        Apparel, LLC, Aramark Services, Inc, Aramark Uniform Rentals, AUS Detroit

        Michigan, Aramark, and/or Aramark Detroit and/or their agents provided the flow mat

        that was placed down in front of the produce which caused the Plaintiff Melanie

        Welch to fall and injure herself.

               38.    The specific floor mat referred to in this Complaint would move and/or •

       pucker, as it was not the proper type to use in these circumstances and/or not

       properly secured to the floor.

          -   39.    The Defendants Aramark Uniform Services, Aramark Uniform & Career
       Apparel, LLC, Aramark Services, Inc. Aramark Uniform Rentals, AUS Detroit

       Michigan, Aramark, and/or Aramark Detroit Aramark and/or their agents use of the

       mats that would move and/or pucker created a danger for the Plaintiff and other

       individuals that happen to walk in the area.

              40.    Defendants Aramark Uniform Services, Aramark Uniform & Career
       Apparel, LLC, Aramark Services, Inc, • Ararnark Uniform Rentals, AUS Detroit

       Michigan, Aramark, and/or Aramark Detroit and/or their agents created a new hazard

      by the placement of the mat on the floor may that would move and/or pucker.

              41.    The Defendants Aramark Uniform Services, Aramark Uniform & Career
      Apparel, LLC, Aramark Services,             Aramark Uniform Rentals, AUS Detroit
      Michigan, Aramark, and/or Aramark Detroit and/or their agents knew or should have



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        known that the type of mats that were placed down in the store that Plaintiff fell on,or

        were similar to the type that Plaintiff fell on, created a danger to individuals that would

        use the area.

              42. The danger of a store invitee or other individuals falling on the moving

       and/or puckering floor mat was foreseeable to the Defendants Aramark Uniform

       Services, Aramark Uniform & Career Apparel, LLC, Aramark Services, Inc, Aramark

       Uniform Rentals, AUS Detroit Michigan, Aramark, and/or Aramark Detroit and/or their

       agents. •

              43.    At all times material to this complaint, Defendants Aramark Uniform

       Services, Aramark Uniform & Career Apparel, LLC, Aramark Services, Inc, Aramark

       Uniform Rentals, AUS Detroit Michigan, Aramark, and/or Aramark Detroit and/or their •

       agents owed a duty to exercise reasonable care to the Plaintiff.

              44.    Contrary to said duties, Defendants Aramark Uniform Services,

       Aramark Uniform & Career Apparel. LLC, Aramark Services, Inc, Aramark Uniform

       Rentals, AUS Detroit Michigan, Aramark, and/or Aramark Detroit and/or their agents

       breached said duties and were negligent, including but not limited to:
                     a.    Provided a flocwmat, which moved and/or puckered to be placed
                           on the floor adjacent to the produce area;
                     b.    Failed to exercise reasonable care;
                     c.    Failed to employ adequate and/or properly train and/or qualified •
                           agents to carry out the duties of the Defendants;
                     d.    Failed to properly screen, hire, train, educate and/or supervise its
                           agents and employees;
                    e.     Failed to take reasonable precautions to protect Melanie Welch
                           from dangers that were foreseeable;
                    f.     Failed to keep adequate records;
                    g.     Failed to properly and/or timely remove the floor mat that was in
                           the area where Plaintiff fell;
                    h.      Failed to provide a floor mat that would stay flat;
                    i.     Failed to provide a proper floor mat;




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                     j.      Failed to properly advise the other Defendants and/or their
                            agents as to the proper floor mat to use under the
                            circumstances;
                      k.    Selected armi/or employed negligent and/or careless agents and
                            employees;
                            Failed to provide proper, adequate, specific and/or complete
                            instructions to its agents and/or employees;
                      m.    Failed to properly inspect their floor mats at the Whole Food
                            Store;
                     n.     Failed to wam Whole Foods that the floor mat would pucker
                            and/or move and/or were not the proper floor mats for those
                            circumstances;
                     o.     Created a new hazard by the placement of the floor mat that
                            would move and/or pucker.
              45.    That contrary to the duties owed to Plaintiff Melanie Welch, Defendants
       Aramark Uniform Services, Aramark Uniform & Career Apparel, LLC, Aramark

       Services, Inc, Aramark Uniform Rentals, AUS Detroit Michigan, Aramark, and/or

       Aramark Detroit and/or their agents breached their common law duty owed to •

       Plaintiff, which imposes on every person engaged in the proiecution of an

       undertaking, an obligation to use due care or to so govem their actions so as to not

       reasonably endanger the person or property of others. Riddle v McLouth Steel

       Products Corp,440 Mich 85(1992), citing Clark v Dalemin, 379 Mich 251 (1967).           •
             46.    At all times material to this Complaint, Plaintiff Melanie Welch acted
       reasonably and exercised proper care for her own safety.

             47.    At no time material to this Complaint were Defendants Aramark Uniform
       Services, Aramark Uniform & Career Apparel, LLC, Aramark Services, Inc, Aramark

       Uniform Rentals, AUS Detroit Michigan, Aramirk, and/or Aramark Detroit an owner,

      possessor or occupant of the area that Plaintiff fell and injured herself on.




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              48.     The open and obvious defense does not apply to the claim against the

        Defendants Aramark Uniform Services, Aramark Uniform & Career Apparel, LLC,

        Aramaric Services, Inc, Aramark Uniform Rentals, AUS Detroit Michigan, Aramark,

        and/or Aramark Detroit as they were not an owner, possessor or occupier of the area

       where Plaintiff fell.

              49.     Pursuant to Hiner v Woe,271 Mich 604(2006), the open and obvious

       doctrine does not apply to this negligence count.

              50.     As a direct and proximate result of the aforementioned acts or

       omissions of Defendants Aramark Uniform Services, Aramark Uniform & Career

       Apparel, LLC, Aramark Services, Inc, Aramark Uniform Rentals, AUS. Detroit

       Michigan, Aramark, and/or Aramark Detroit and/or their agents, Plaintiff Melanie

       Welch incurred injuries and damages including but not limited to:

                     a.        Physical pain and suffering;
                     b.        Mental anguish, Including embarrassment and humiliation past,
                               present and future;
                     c.        Decreased enjoyment of life, past and present;
                     d.        Medical bills;
                     e.        Miscellaneous expenses.
             WHEREFORE Plaintiff Melanie Welch prays for a Judgment against the

       Defendants Aramark Uniform Services, Aramarlc Uniform & Career Apparel, LLC,:

      Aramark Services, Inc, Aramark Uniform Rentals, AUS Detroit Michigan, Aramark,

      and/or Aramark Detroit, jointly and severally in such amount in excess of $25,000.00,

      as the Court deems just and equitable, plus costs, interest and attorney fees.

                                  COUNT 111— VICARIOUS LIABILITY

             51.    Plaintiff incorporates by reference all paragraphs of her Complaint to

      eliminate repetition.




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               52.    At all times material to this Complaint, upon information and belief,

        Defendants Aramark Uniform Services, Aramark Uniform & Career Apparel, LLC,

        Aramark Services, Inc, Aramark Uniform Rentals, AUS Detroit Michigan, Aramark,

        and/or Aramark Detroit and/or their agents and/or employees were acting as agents

        of Whole Foods Market, Inc., Whole Foods Market Group. Inc., Whole Foods Market

        Midwest, Inc. and/or Whole Foods Market and were acting within the scope of their

        apparent, implied and/or actual authority.

              53.    The wrongful acts and/or omissions of Defendants Aramark Uniform

        Services, Aramark Uniform & Career Apparel, LLC, Aramark Services, Inc, Aramark

        Uniform Rentals, AUS Detroit Michigan, Aramark, and/or Aramark Detroit and/or their

       agents and/or employees as set forth in this Complaint were within the scope of their

       apparent, implied, and/or actual authority as an agent.

              54.    Whole Foods Market, Inc., Whole Foods Market Group, Inc., Whole .
       Foods Market Midwest, Inc. and/or Whole Foods Market are vicariously liable for all

       such wrongful acts Aramark Uniform Services, Aramark Uniform & Career Apparel,

       LLC, Aramark Services, Inc, Aramark Uniform Rentals, AUS Detroit Michigan,
       Aramark, and/or Aramark Detroit and/or their agents and/or employees.

             55.     As a direct and proximate result of the Defendants' aforementioned

       negligent acts and/or omissions, Plaintiff Melanie Welch has suffered the damages

       and injuries as set forth in paragraph 34 and 49.

             WHEREFORE, Plaintiff Melanie Welch prays for a judgment against •

       Defendants Whole Foods Market, Inc, Whole Foods Market Group, Inc., Whole

       Foods Market Midwest, Inc. and/or Whole Foods Market,jointly and severally in such




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        amount in excess of twenty-five thousand dollars ($25,000.00) as the Court deems

        just and equitable, plus costs, interest and attorney fees.



                                            GARRIS,GARRIS,GARRIS 8"GARRIS,P. C:

        Dated: December 7,2018              By:
                                                   Michael J. arris
                                                  Attomeys for Plaintiff
                                                  300 East Washington Street
                                                  Ann Arbor, Michigan 48104
                                                  (734)761-7282




      MJG/SeoWelchiPleaci/Plaintirs Complaint 12-07-18




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                       UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF MICHIGAN

MELANIE WELCH,                                  Case No.

      Plaintiff,                                Hon.

v.

WHOLE FOODS MARKET,INC., WHOLE
FOODS MARKET GROUP,INC., WHOLE
FOODS MARKET MIDWEST,INC., WHOLE
FOODS MARKET,ARAMARK UNIFORM
SERVICES,ARAMARK UNIFORM & CAREER
APPAREL,LLC, ARAMARK SERVICES,INC.,
ARAMARK UNIFORM RENTALS,
AUS DETROIT MICHIGAN,ARAMARK
DETROIT,ARAMARK,jointly and severally,

      Defendants.

Michael J. Garris(P30185)          John "Jack" P. Deegan (P55630)
GARRIS, GARRIS, GARRIS & GARRIS,PC Rhonda R. Stowers(P64083)
Attorneys for Plaintiff            PLUNKETT COONEY
300 E. Washington St.              Attorneys for Defendant Aramark
Ann Arbor, MI 48104                Uniform & Career Apparel, LLC
(734)761-7282                      406 Bay Street, Suite 300
                                   Petoskey, MI 49770
                                   (231) 348-6435
                                   jdeegan@plunkettcooney.com

                               VERIFICATION
      Rhonda Stowers being first duly sworn, deposes and says that he is the
attorney for Defendant, Aramark Uniform & Career Apparel, LLC, and that the
foregoing Notice of Removal is true in substance and in fact to the best of his
knowledge,information, and belief.



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                                            Respectfully submi•ed:
 Subscribed and sworn to before me on
       /3/19                                                   /19-w-e14')
P
,A r                                        Rhonda R. Sto
Kathie-garde, Notary Public                 Attorneys for Def. Amark Uniform &
Genesee County, Michigan                    Career Apparel, LLC
My Commission Expires:                      111 E. Court St., Ste. 1B
         KATHALEEN M.FORDE                  Flint, MI 48502
      NOTARY PUBLIC, STATE OF MI            (810)342-7003
         COUNTY OF OAKLAND
   MY COMMISSION EXPIRES Apr 16,202,5       rstowers@plunkettcooney.com
   ACTING IN COUNTY OF




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                       UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF MICHIGAN

MELANIE WELCH,                                 Case No.

      Plaintiff,                               Hon.

v.

WHOLE FOODS MARKET,INC., WHOLE
FOODS MARKET GROUP,INC., WHOLE
FOODS MARKET MIDWEST,INC., WHOLE
FOODS MARKET,ARAMARK UNIFORM
SERVICES,ARAMARK UNIFORM & CAREER
APPAREL,LLC,ARAMARK SERVICES,INC.,
ARAMARK UNIFORM RENTALS,
AUS DETROIT MICHIGAN,ARAMARK
DETROIT,ARAMARK,jointly and severally,

      Defendants.

Michael J. Garris(P30185)          John "Jack" P. Deegan(P55630)
GARRIS, GARRIS, GARRIS & GARRIS,PC Rhonda R. Stowers(P64083)
Attorneys for Plaintiff            PLUNKETT COONEY
300 E. Washington St.              Attorneys for Defendant Aramark
Ann Arbor, MI 48104                Uniform & Career Apparel, LLC
(734)761-7282                      406 Bay Street, Suite 300
                                   Petoskey, MI 49770
                                   (231) 348-6435
                                   jdeegan@plunkettcooney.com

                               APPEARANCE

     PLEASE ENTER my Appearance as attorney in the above-entitled matter

for the named Defendant Aramark Uniform & Career Apparel, LLC.
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                                           Respectfully submitted,

                                           PLUNKETT COONEY

                                           is/Rhonda R. Stowers
                                           Rhonda R. Stowers(P64083)
                                           Attorney for Defendant
                                           111 E. Court St., Ste. 1B
                                           Flint, MI 48502
                                           (810)342-7003
                                           rstowers@plunkettcooney.com

Dated: 1/3/19




                   CERTIFICATE OF ELECTRONIC FILING

Rhonda Stowers certifies that a copy of the Appearance and this Certificate of
Electronic Filing was electronically filed with the United States District Court,
Eastern District of Michigan, in the above cause on 1/3/19. A copy will be
provided to counsel of record via first class mail. I declare under the penalty
of perjury that the above statement is true to the best of my knowledge,
information and belief.


                                          is/Rhonda R. Stowers
                                          Rhonda R. Stowers(P64083)
                                          Attorney for Defendant
                                          111 E. Court St., Ste. 1B
                                          Flint, MI 48502
                                          (810) 342-7003
                                          rstowers@plunkettcooney.com
